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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

EMMITT HOUSE,

              Plaintiff,

              v.
                                                 Case No. CIV-17-957-R
TINKER FEDERAL CREDIT UNION,

              Defendant.


                   STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       The parties, by and through their counsel of record, hereby stipulate to the

dismissal of all claims against Defendant Tinker Federal Credit Union without prejudice

to the filing of future actions, with Plaintiff and Defendant to each bear its own costs and

attorneys’ fees, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).

                                           Respectfully submitted,



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